Case: 1:05-cy-0709/ Document #: 1823-7 Filea: I2Z/Z20rur Page + Or 20 PagdelD #:22456
6 , ~ Loan Number: 0047899451 - se78
ADJUSTABLE RATE NOTE S
(LIBOR index - Rate Caps)

THIS NOTE GONTAINS PROVISIONS ALLOWING FOR CHANGES IN MY INTEREST RATE AND MY MONTHLY
PAYMENT. THIS NOTE LIMITS THE AMOUNT MY INTEREST RATE CAN CHANGE AT ANY ONE TIME ANDTHE
MAXIMUM. RATE 1 MUST-PAY. THIS LOAN HAS A PREPAYMENT PENALTY PROVISION,

May 23, 2003 Orange CA .
[Dats] “ {City] - 1State] “

100 Oswegaichie Road, WATERFORD, CT 06385 .
[Property Addrass] ae

1. BORROWER'S PROMISE TO PAY

in return for a loan that I have received, | promise to pay U.S. $ 121,250.00 (this amount is called “principal’};. plus
interest, to the order of the lender. The Lender is Ameriquest Mortgage Company’. 5
i understand that the Lender May iransfer this Note. The Lendar or anyone who takes this Note by transfer and who is
entitled to receive payrnents under this Note is called the "Note Hoider.” : ,

2, INTEREST .

interest will be charged on unpaid principal until the full arnount of principal has been paid, ! will pay interest! at a
yearly rate of 6.550 %. This interest rate | will pay may change In accordance with Sactien 4 of this Note. The ifterest
rate required by this Section 2 and Section 4 of this Note [s the rate | will pay both before and after any défauit

described in Section 7(B) ofthis Note.

3. PAYMENTS
{A) Time and Place of Payments
[ will pay principal sn tere by making payments every month. . wt
Iwill make my monthly payments on the first day of each month beginning an July 1, 2003. | will make these
payments every month until | have paid all of tha Principal and interest and any other charges described helow that
| may owe under this Note. My monthly payments willbe applied to interest before principal. ion June-T, 2033

, | still owe amounts under this Note, | wil! pay those ammounts in full on that date, which is called the “Maturity
Date", i

[WH make my payments at 505 City Parkway West, Suite 100, Grange, CA 92868 al

or at a different place {required by the Note Holder.
({B) Amount of My Initial Monthly Payments

Each of my initia? mony Payments will be in the amount cf U.S. $ 770.38. This amount may change. i

{C} Monthiy Payment Changes :
Changes in my monthly payment will reflect changes in the unpaid principal of my joan and in the interest rate’that §

must pay. The Note Hdider will determine fay new interest rate and the changed amount of my monthly payment in
accordance with Section 4 of this Note.

4, INTEREST RATE AND MONTHLY PAYMENT CHANGES ~ .
(A} Change Dates oe
The Interest rate | will pay may change onthe first day of June, 2005 , and on that day avery sixth month 22
thereafter, Each date on which my interest rate coud change is called a “Change Date.” ig
{B) The Index ‘ 1
’ Beginning with the first Change Date, my interest rate will ba based cn an Index. The “Index" is the avertige of
interbank offered rates for six-month US. dollar-denominated deposits in the London market (LIBOR", as
published In The Wall Street Journal. The most recent Index figure available: as of the date 45 days befdfe the
Change Date is called the "Current Index." ae
if at any point in time the Index {s no longer available, the Note Holder will choose a new Index that js based: upon
comparable information, The Note Holder wil give.me notice af this choice.

(C} Calculation of Changes :
Before each Change Date, the Note Holder wilt calculate my new Interest rate by adding five percentage pofhit(s}
(5.000 %) to the Current! Index. The’Note Holder will then round the result of this addition ta the nearest ane-gight
of one percent (0.125%)| Subject fo the limits stated in Section 4(D) below, this rounded amount will be mycnew
interest rate until the next Change Date, The Note Holder will then determine the amount of the monthly painent
that would be sufficient to repay the unpaid Principal that ! am expected ta owe. at the Change Date in full 6F-the
Maturity Date at my new |interest rate in substantially equal payments. The result of this calculation wil! be the new
amount of my monthly payment.

Initials:
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{D) Limits on Interest Rate Changes

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x
The interest rate fam required to pay at the first Change Date will not be greater than 8.550 % or less than, §.550
%, Thereafter,-my interest rate will never ba increased or decreased on any‘single Change Date by mere than
One percentage point(s} { 1.008 %) from the rate of Interest I have been paving for the preceding six months.
My interest rate will never be greater’ 12.559% or less than 5.550% .

(E) Effective Date of Chang
My new Interest rate
payment beginning o

yf

S wip
ill become effective on each Change Date. | wil pay the amount of my new "ronthly
the first monthly payment date afer the Change Date untli the amount of my reanthiy

payment changes again. ay

(F} Notice of Changes
The Note Holder will

al

sliver or mail to me a notice of any changes in my lniterest rate and the amount of my

monthly payment befofe the effective date of any change. The notice wil include information required by law to

be given me and als
regarding the notice,

the title and telephone nuriber of a person who will answer any question | may have

"3

(8) PREPAYMENT PRIVILEGE 3
I may prepay all-or a portion of the principal balance of this Note in accordance with the terms of this Section. A
"prepayment is any amount that | pay In excess of my regularly scheduled payments of principal anc intereat that
the Lender will apply to reduce the outstanding principal balance on this Note in aécordance with this Section.
(A) Prapayment Made Three (3.00) year(s) After the Date of this Note

if | make a prepayme
make that prepayment

ft commencing on or after the Three {3.00} year anniversary of the date of this Note, may
in full or in part, without the imaosition of a prepayment charge by the Lender. ic

(B) Prepayment Made Within Three {3.00) year(s) of the Date of this Note

[ agree to pay Lender

prepayment charge if | make a prepayment before the fhree (3.00) year(s} anniversary of

the date of this Note,| whether voluntarily or involuntarily, and the aggregaté amount of the prepayments! am
currently making, plus jail prepayments made-during the immediately preceding 12-month pariod, exceeds twenty

Dercent (20%) of the
(&} months interest, a

riginal principal balance of this Note. The amount af the presayment charge will eqititil six
ijfhe rate then in affect on this Note, based upon the aggregate amount af () the piificinal

balance prepaid an this Note during that 12-menth period; plus (i) the principal balancé prenaid as a redult of

current prepayment.
(C) Application of Fund

&
be

| agree that when | Indicate in writing that | am making @ voluntary prepayment, the Lender shall appiy.funds ft
receives first ta pay any prepayment charge and next in accordance with the onder of application of payments set
forth in Section 2 of Security instrument. ‘

{D} Monthiy Payments

if | make @ prepayme’

t of an amount less than the amount needed to completely repay all amounts due“gnder

this Note and the Seotirity Instrument, my regulary scheduled payments of principal and interest will not cle nge

as a result,
6& LOAN CHARGES

4

if 2 law, which applies to this joan and which sets maximum lean charges, |s finally interpreted so that the interSst or
sther loan charges collected or to ba collected in connection with this loan exceed the pennitted limits, then: (j any
such logn charge shall bé reduced by the amount necessary to reduce the charge to the permitied fimit and af any

sums already collected

m me which exceeded permitted limits will be refunged to me. The Note Holddtimay

choose to make this refurid by reducing the principal | owe under this Note or by making a direct payment to mé? Ifa

refund reduces ihe princigal, the reduction will be treated as a partial prepayment. ut

“A

7. BORROWER'S FAILURE] TO PAY AS REQUIRED . at
(A) Late Charges for Overdue Payments ce

If the Note Holder has not received the full amaunt of any monthly payment by the end of fifteen calendaidays
after the date it is due, | will pay a late charge to the Note Holder. The amount of the charge will be 6.000% af
my overdue payment of principal and interest. [ will pay this fate charge promptly but only ones on eacHtlate

payment.
(B) Default

if'| do not pay the fulllamount of each monthly payment on the date it is due, Ilwill be in defarut. oo

(C} Notice of Default

lf | arh in default, ihe Note Holder May send me a weittan notice telling me that Hide not pay the overdue

amount by a certain
has nat been paid

date on which'the nctice is detivered or mailed to me. :
(D} Na Waiver by Note Holder

ate, the Note Holder may require me to pay immediately the full amount of principaltwhich
and ali the interest that | owe on that amount. The date- must be at least 30 days after the

vd

Even if, at a time which | am fn default, the Note Holder does not require me to pay immediately In full as
described above, the Note Holder will still have-the right to do so if | am in default at a later time, ati
{E) Payment of Note Holder's Costs and Expenses Ts

if the Note Halder h
right to be paid back

applicable law. Thase expenses include, fer example, reasonable atiornays' fees,

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required me to pay immediately in full as described above, the Note Holder will haveithe
by ne for all of its costs and expenses In enforcing this Note to the extent not prohibited by

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40, WAIVERS ‘

. OBLIGATIONS OF PERSONS UNDER THIS NOTE .

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oe" Number. 0047599451 - 5678
GIVING OF NOTICES © “
Unless applicable law requires a different method, any notice that must be given to me under this Note will be given
by defivering it or by mailing it by first class mail to me at the Property Address above or at a different address ifi
give the Note Holder a notice of my different address. . ve
Any notica that must be given to the Note Halder under this Note wil he given by mailing it by first class mail ta the

Note Holder at the address|stated in Section 3A) above or at a different address if} am given notice of that different
address, . : :

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If more than ane person sighs this Note, gach person Is fully and personally obligated ty keep all of the promises made
in this Note, including the promise to pay the full amount owed. Any person who is!a guarantor, surety or endorger of
this Note is also obligated to do these things. Any person who takes over these obligations, including the obligations
of a guarantor, surety or ardorser of this Note, is also obligated to keep ail of the promises made in this Notes, The
Note Holder may enforce its rights under this Note against each persan individually'or against all of us fogether fins
means that any one of us may be required to pay all of the amounts owed under thisiNote.

| and any other person who has obligations under this Note waive the rights of Presentment and notice of dishonor.
"Presemment" means the right to require the Note Holder te demand payment of amounts due. "Notice of Dishonor"
means the right to require the Note Halder to give notice to other persons that amounts due have not bean pad...

ae

11. UNIFORM SECURED NOTE

12.

of

This Note is a uniform ins;rument with limited variations in some jurisdictions. In addition, to the protections given to
the Note Holder under this Note, A Mortgage, Deed of Trust or Security Deed (the "Security Instrument"), datéd the
Same as this Note, protects ihe Note Halder from possible lasses which sight result if | do not keep the promisés that
i make in this Note. That the Security Instrument describes how and under what conditions | may be required to

make Immediate payment in full of ail amounts i owe under this Note. Some of those conditions are described as
follows: :
8
Transfer of the Property cr a Beneficial Interest in Borrower. {f all or any part ofthe Property or any interest iB it is
sold or transferred {or if a! beneficial interest in Borrower is sold or transferred and Borrower is not a natural person)
without the Lender's prio written consent, Lender may, at its option, require immediate payment in full of alkgums
Secured by this Security Instrument. However, this option shall not be exercised by Lender if exercise is prohibited by
federal law as of the date of this Security Instrument. Lender also shail not exercise this option if: (a) Bottower
Causes to be submitted tol lender information required by Lender to evaluate the ifténded transferee as if a new. loan
were being made to the transferee; and (b) Lender reasonable determines that Lencers security will not be impaired
by the logn assumption and that the risk of a breach of any covenant or agreement in this Security Instrumént is
acceptable fo Lander. HG
To the extent permitted by applicable law, Lender may charge a reasonable fee as a condition of Leader's
consent to the loan assumption. Lender may also require the transferee to sign an assumption agreement at is
acceptable to lender and that obligates the transferee to keap all the promises and agreements made in the Note and
in this Security Instrument. Borrower will continue to be obligated under the Note and this Security Instrument Utes
Lender releases Borrowel in writing. *

ff Lender exercises ihe ation fo reqiire immediate payment in full, Lender shall give Borrower notice of
acceleration. The notice shall provide a period of nat less than 30 days from the date the notice is delivered oF Mailed
within which the Borrower, must pay all sums secured by this Security Instrument. [f Borrower fatls to pay these sums
priar to the expiratian of this period, Lender may Invoke any remedies permitted by this Sacurity Instrument without
further notice or demand " Borrower, 3

SOVERNING LAW PROVISION i

ie
This Note and the. reiated Security interest até governed by the Altemative Mortgage Transaction Parity Act off 282,
12 USC §3802 et. sec., and, to the extend not inconsistent therewith, Federall and State law applicable fo. the
jurisdiction of the Property, ’ oe

Oral agreements, promises or commitments to fend money, extend credit, or forebear fram enforcing repaymant

a debt, including promises to extand, madify, renew or waive such debt, are not enforceable. This wiitten

agreement contains ail the terms the Borrower{s) and the Lender have agreed ‘to. Any subsequent agresinent
between us regarding this Note or the instrument which secures this Note, must ba in a signed writing t8 be

legally enforceable.

WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED.

f 8
(Saal} 32a)
BORROWER wd

{Seal} Real)

ECGRAOWER BORROWER ye

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Return To:

Aneriquest Mortgage Company ce
P.O: Box 11507, S
Santa Ana, CA 92711

Prepared By:Ameriquest Mortgage Company 3?
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Dorthy Whaten a
125 Eugene O'Neill or *
-#300,New London, CT 06320 .
{Space Above This Line For Recording Da 4 *

OPEN-END MORTGAGE DEED it

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DEFINITIONS . e

it
Words used in multiple sections of this document are defined below and other words are defined in 8

Sections 3, 11, 13, 18, 20 and 21, Certain rules regarding the usage pf words used in this document are i,
also provided in Section 16.

2 aT

(A) "Security Instrument" means this document, which js datedMay 23, 2003 om
together with all Riders to this document. . ey
(B) "Borrower" is Constance Stripling 2.
:
i
Borrower ig the mortgagor under this Security Instrument. *
(C) "Lender" ig Ameriquest Mortgage Company a
Lender is a Corporation 4
organized and existing under the laws of Delaware . i
0047599451 -5678 \
GONNECTICUT-Single Family-Fannie Mae/Freddie Mac UNIFORM INSTRUMENT. Form 3007 1/01 e
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WIRE, rita: SAYS, Page 1 of 15 05/22/2003 6:16 a
VMP MORTGAGE FORMS - (00}821-7291 .

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, a

Lender's address is 1100 Town and Country Road, Suite 200 Orange, CA 92868

Lender is the mortgagee under this Security Instrument.
®) "Note" means the promissory note signed by Borrower and datedMay 23, 2093 .

The Note states that Borrower owes Lender one hundred twenty-one thousand two hundred .

Tifty and 00/160 Dollars eh
M.S. $121,250.00 ) plus interest. Borrower has promised to pay this debt in yegular Periodic ™
Payments and to pay the debt in fall not later than June 1, 2033 . *

(E) “Property” means the property that is described below under the heading "Transfer of Rights in the a
Property." . ue

() "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and late charges .
due under the Note, and all sums due under this Security Instrument, Fius interest,

(S) "Riders" means all Riders to this Security Instrument that are executed by Borrower. The following .

Riders are to be executed by Borrower [check box as applicable]: * |

[XC] Adjustable Rate Rider [_! Condominium Rider * [4] second Home Rider
Balloon Rider, |__| Planned Unit Development Rider Cia Family Rider .
VA, Rider ["_] Biweekty Payment Rider Othex(s) [specify]

. . i
(A) "Applicable Law" :means all controlling applicable federal, state and local statutes, regulations, oe
ordinances and administrative mles and orders (that have the effect of law) as well ag all applicable fimal,
non-appealable judicial opinions, .
@ "Comruunity Association Dues, Fees, and Assessmenis'! means al] dues, fees, assessments and other
chatges that are imposed on Bomower or the Property by a condominium association, homeowners
association or similar organization.
(J) "Electronic Funds Transfer means any transfer of funds, other than a transaction originated by
check, draft, or similar paper instrument, which is initiated through an electronic terminal, telephonic ;
instrument, computer, or magnetic tape so as to order, instruct, or authorize a financtal institution to debit *
or credit 4n account. Such term includes, but is not limited to, point-of-sale transfers, automated teller .
machine transactions, transfers initiated by telephone, wire transfers, and automated clearinghouse
transfers.
{K) "Escrow Items" means those items that are described in, Section 3.
@) "Miscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid,
by any third party (other than insurance proceeds paid under the coverages described.in Section 5} for: @
damage to, or destmction of, the Property; (ii) condemnation or other taking of all or any part of the
Property; Gi) conveyance in liew of condemnation; or Gv) mnisrepresentations of, or omissions as to, the ¢
value and/or condition of the Property. i
(M) "Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or default on, .
the Loan. “el
(N) “Periodic Payment" -means‘the regularly scheduled amount due fdr (i} principal and interest under the :
Note, plus Gi) any amounts under Section 3 of this Security Instrument, 1
(O) “RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 et seq.) and its f
implementing regulation, Regulation X (24 C.E.R. Part 3500), as they might be amended from time to i
time, or any additional or successor legislation or regulation that govems the same subject matter. As used
in this Security Instrument, “RESPA" refers to all requirements and restrictions that are imposed in regard
io a “federally related mortgage loan" even if the Loan does not qualify as a “federally related mortgage
Joan” under RESPA..

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(®) "Successor in Interest of Borrower” means any party that has taken title to the Property, whether ar
not that party has assumed Borrower's obligations under the Note and/or this Security Instrument.

TRANSFER OF RIGHTS IN THE PROPERTY

This Security Instrument secures-to Lender: (f) the repayment of the L an, and all renewals, extensions aud

modifications of the Note; and (if} the performance of Borrower's covenants and agreements under this

Security Insirument and the Note. For this purpose, Borrower in consideration of this debt does hereby

grant and convey to Lender and Lender's successors and assigns, the following described property jocated

in the County of NEW LONDON :
[Type of Recording Jurisdiction} [Name of Recording J urisdiction]

LEGAL DESCRIPTION ATTACHED HERETO AND MADE A PART HEREOF:

Parcel ID Number: which currently has the address of
100 Oswegatchia Road [Street]
WATERFORD [City] , Connecticut 66385 [Zip Code]

("Property Address"):

TO HAVE AND T® HOLD this property unto Lender and Lender's successors and assigus, forever,
together with all the improvements now or hereafter erected on| the Property, and all easements,
appurtenances, and fixtures now or hereafter a part of the property. meplacements and additions shall
also he covered by this Security Instrament. All of the foregoing is referred to in this Security Instrument
as the "Property."

BORROWER COVENANTS that Borrower is lawfully seised off the estate hereby conveyed and has

the right to mortgage, grant and convey the Property and that the Property is unencumbered, except for

encumbrances of record, ‘Borrower warrants and will defend generally
claims and demands, subject to any encumbrances of record.
THIS SECURITY INSTRUMENT combines uniform covenant

the Hitle to the Property against all

$ for national use and nom wiform

covenants with limited variations by jurisdiction to constitute a unifo

property.
UNIFORM COVENANTS, Borrower and Lender covenant and

security instrament covering real

ee as follows:

1. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges.
Borrower shall pay when due the principal of, and interest on, the debt evidenced by the Note and any

prepayment charges and Jate charges due wnder the Note. Borrower $

also pay funds for Escrow Items

pursnant io Section 3. Payments due under the Note and this Security Instrument shall be made in U.S.

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initials:

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currency. However, if any check or other instrument received by Lend
Security Instrument is returned te Lender unpaid, Lender may require;
due under the Note and this Security Instrument be made in one ¢

er as payment under the Note or this
that any or all subsequent payments
r more of the following forms, as

selected by Lender: (a) scash; (b) money order; (c) certified check, hank check, treasurer's check or
cashier's check, provided any such check is drawn upon an institution whose deposits are insured by a
federal agency, instrumentality, or entity; or (d) Electronic Punds Trager.

Payments ate deeméd received by Lender when received at the i cation designated in the Note or at
sach other location as may be-designated by Lender in accordance with the notice provisions in Section 15.
Lender may retumm any payment or partial payment if the payment of partial payments are insufficient to
bring the Loan current. Lender may accept any payment or partial payment insufficient to bring the Loan
cuneni, without waiver of any rights hereunder or prejudice to its rights to refuse such payment or partial

payments in the future, but Lender is not obligated to apply such pay!

ments at the time such payments are

accepted. If each Periodic Payment is applied as of its scheduled due date, then Lender need not pay

interest on, unapplied funds. Lender may hold such unapplied fimds on
the Loan current. If Borrower dees not do so within a reasonable peri
such funds or return them to Borrower. If not applied earlier, such fon
principal balance wider the Note immediately prior to foreclosare. |
might have now or in thé future against Lender shall zélieve Borrow
the Note and this Security Instrument or perforining the covenants andl
Instrument.

til Borrower makes payment to bring
od of time, Lender shall either apply
Gs will be applied to the outstanding
No offset or claim which Borrower
t from making payments due under
agreements secured by this Security

2. Application of ‘Payments or Proceeds, Except as otherwi
payments accepted and applied by Lender shall be applied in the foll
due under the Note; (b) principal due under the Note: (c) amounts

@ described in this Section 2, all
wing order of priority: (3) interest
@ wader Section 3. Such payments

shall be applied: to each Periodic Payment in the order in which it became due. Any remaining amounts

shall be applied first to late charges, second to any other amounts d
then to reduce the principal balance of the Note.

under this Security Instrrment, and

If Lender receives a payzient from Borrower for a delinquent [Periodic Payment which includes a
sufficient amount to pay ‘any late charge due, the payment may be applied to the delinquent payment and

the Jate charge. If more than one Periodic Payment is outstanding,
from Borrower to the repayment of the Periodic Payments if, and to

der may apply any payment received

extent that, each payment can be

paid in full. To the extent that any excess exisis after the payment is dpplied fo the full payment of one or

more Periodic Payments, such excess may be applied to any late charg
be applied first to any prépayment charges and then as described in the

es due. Voluntary prepayments ghall
Note.

Auy application of paymenis, insurance proceeds, or Miscellanetus Proceeds to Puncipal due under
the Note shall not extend-or postpone the due date, or change the amount, of the Periodic Payments.

3. Funds for Escrow Items. Borrower shall pay to Lender on
under the Noite, until the Note is paid in full, a sum (the "Funds" to 3
for: @) taxes and assessments and other items which can atiain priorit
lien.or encumbrance on. the Property; (b) leasehold payments or grow
premiums for any and all insurance required by Lender poder Sect!

the day Periodic Payments ate due
provide for payment of amounts due
ry over this Security Instrament as a
nd rents on the Property, if any: (c)
ion 3; and (a) Mortgage Insurance

premiums, if any, or any sums payable by Borrower to Lender in lien of the payment of Morigage

Tnsurance preminms in accordance with the provisions of Section i

QO. These items are called "Hscrow

Ttems." At origination of at any time during the term of the Loan, Lender may require that Commmnity

Association Dues, Fees, and Assessments, if any, be escrowed by

assessments shall be an Escrow Item. Borrower shall promptly furnish
be paid under this Section. Borrower shall pay Lender the Funds for
Borrower's obligation to pay the Funds for any or all Escrow Ite
obligation to pay to Lender Funds for any or all Escrow Items at any

Gp -6c7] 10005) Page 4 of 15 XX RMOMRAK 95 D979

Borrower, and such dues, fees and
to Lender all notices of amounts to
scrow Items woless Lender waives
ms. Lender may waive Bomower's
time. Any such waiver may only be

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initials;

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in writing. In the event of such waiver, Borower shall pay directly, when and where payable, the amounts
due for any Escrow Items for which payment of Funds has been waived by Lender and, if Lender requires,
shall furnish to Lender receipts evidencing such payment within such|time period as Lender may xequire.
Borrower's obligation to make such payments and to provide teceipts|shall for all purposes be deemed to
be a covenant and agreement contained in this Security Instrument, as the phrase “covenant and agreement"
is used in Section 9. If Borrower is obligated to pay Escrow Items directly, pursuant to a waiver, and
Borrower fails to pay the amount due for an Escrow Item, Lender may exercise its tights under Section 9
and pay such amount and Borrower shall then be obligated under Section, 9 to repay to Lender any such
amount. Lender may revoke the waiver as fo any or all Escrow Items at any time by a notice given in
accordance with Section 15 and, upon such zevocation, Borrower shall pay to Lender all Fonds, and in
such amounts, that are then, required under this Section 3.
Lender may, at any time, collect.and hold Funds in an amount {a} sufficient to permit Lender to apply
the Funds at the time specified under RESPA, and (b) not to exceed| the maximum amount a lender can
require under RESPA. Lender shall estimate the amount of Funds due om the basis of current data and
reasonable estimates of expenditures of future Escrow Items or otherwise in accordance with Applicable
Law. ? .
The Funds shall be held in an institution whose deposits are insured by a federal agency,
instrumentality, or entity Gacluding Lender, if Lender is an institution hvhose deposits are so insured) or in
any Féderal Home Loan Bank. Lender shall apply the Funds to pay the Escrow Tiems no later than the time
specified under RESPA. ‘Lender shall not charge Borrower for holding and applying the Funds, smmaily
analyzing the escrow account, or verifying the Escrow Items, unless Uender pays Borrower interest on the
Punds and Applicable Law permits Lender to make such acharge. Unless an agreement is made in writing
or Applicable Law requires interest to be paid on the Funds, Lender not be required to pay Borrower
any interest or earings on the Ponds. Borrower and Lender can agree in writing, however, that interest
shall be paid on the Funds. Lender shall give to Borrower, without tharge, an annual accounting of the
Fonds as required by RESPA.
If there is a sumpius of Funds held in escrow, as defined under RESPA, Lender shall account to
Borrower for the excess fonds in accordance with RESPA. If there is 4 shortage of Funds held in escrow,
as defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to
Lender the amount necesgary to make up the shoriage in accordance with RESPA, but in no more than 12
monthly payments. if there is a deficiency of Funds held in escrow, asidefined under RESPA, Lender shall
notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make
up the deficiency in accordance with RESPA, but in no more than 12 athly payments.
Upon payment in fill of all sums secured by this Security Tastcunens, Lender shall promptly refund
to Borrower any Funds heid by Lender.
4. Charges; Liens. Borrower shall pay all taxes, assessmem , charges, fines, and impositions
attributable to the Property which can attain priority over this Secuzi Instrument, jeasehold payments or
ground rents on, the Property, if any, and Community Association Dues, Fees, and Assessments, if any. To
the extent that these items are Escrow Items, Borrower shall pay them in the manner provided in Section 3.
Bonower shall promptly discharge any lien which bas priority over this Security Inshument unless
Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable
to Lender, but only so long as Borrower is performing such agreement; (b) contests the lien in good faith
by, or defends against enfoxcement of the Hien in, Jegal Proceedings which in Lender's opinion operate to
prevent the enforcement of the lien while those proceedings are pending, but only until such proceedings
are concluded; or (c) secures from the holder of the lien an agreement satisfactory to Lender subordinating
the lien to this Security Instrument. If Lender detenmines that any part of the Property is subject to a lien
which, can attain priority over this Security Instrument, Lender may give Borrower a notice identifying the

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Tien, Within 10 days of the date on which that notice is given, Bortowe
more of the actions set forth above in this Section 4.

Lender may reqnixe Borrower to pay a one-time charge for 4
reporting service used by Lender in. connection. with this Loan,

5. Property Insurance. Borrower shall keep the improvements 4
the Property insured against loss by fire, hazards included within the
other hazards including, but not limited to, earthquakes and floods, &
This insurance shall-be maintained in the amounts Gnecluding deduct
Lender requires. What Lender requires pursuant to the preceding sents

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t shall satisfy the lien or take one or
Teal estate tax verification and/or

how existing or hereafter erected on
texm "extended coverage,” and any
ot Which Lender requires insurance.
ible Jevels) and for the périods that
ences tan change during the term of

the Loan. The insurance carrier providing the insurance shall be chosen by Borrower subject to Lender's

Tight to disapprove Borrower's choice, which right shall not be e
requite Borrower to pay, in connection with this Loan, either: (a)
determination, certification and tracking services; or (b) a one-ime

aud certification services and subsequent charges each time remappir
reasonably might affect such determination or certification. Borrow:

cercised unreasonably. Lender may
a ous-time charge for flood zone
rharge for flood zone determination
has or similar changes occur which
xt shall also be responsible for the

payment of any fees imposed by the Federal Bmergency Managem

ent Agency in connection with the

review of any flood zone determination resulting from an. objection by porower.
If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance

coverage, at Lender's option and Borrower's expense. Lender is
particular type or amotnt of coverage. Therefore, such coverage sh

der no obligation to purchase any
cover Lender, bat aight or might

not protect Borrower, Borrower's equity in the Property, or thé contents of the Property, against any risk,

hazard or liability and alight provide greater or lesser coverage than} was previously in effect. Borrower

acknowledges that the cost of the insurance coverage so obtained might significantly exceed the cost of

insurance that Borrower could have obtained. Any amounis disbursed by Lender under this Section 5 shall

become additional debt of Borrower secured by this Security Instrument. These amounts shali bear interest

. at the Note rate from the date of disbursement and shall be payable, with such interest, upon notice from
Lender to Borrower requesting payment. .

All insurance policies required by Lender‘ and renewals. of such policies shall be subject to Lender's
right to disapprove such policies, shall include a standard mortgage clause, and shall name Lender as
mortgagee and/or as an additional loss payee. Lender shall have the right to-hold the policies and zenewal
certificates. If Lender requires, Borrower shall promptly give to Lender all receipts of paid premiums and
Tenewal notices. If Borrower obtaing any form of insurance coverage) not otherwise required by Lender,
for damage to, or destruction, of, the Property, such policy shall incinde a standard mortgage clause and
shall name Lender as mortgagee and/or as an additional loss payee.

In the event of loss, Borrower shall give prompt notice to the insurance carcier and Lender, Lender

may make proof of Joss if mot made promptly by Borrower. Unless L
in writing, any insurance;proceeds, whether or not the nnderlying insa
be applied to restoration or repair of the Property, if the restoration o
Lender's security is not lessened. During such zepair and Testoration B
hold such insurance proceeds until Lender has had an opportunity to
work has been completed to Lender's satisfaction, provided that sI
promptly. Lender may disburse proceeds for the repairs and restoratid
of progress payments as the work is completed. Unless an agreement i
tequires interest to be paid on such insurance proceeds, Lender shall

bnder and Borrower otherwise agree
Tance was required by Lender, shall
r repair is economically feasible and
eriod, Lender shall have the right to
inspect such Property to ensnre the
heh inspection shall be undertaken
in in a single payment or ina series
inade in writing or Applicable Law
i be requited to pay Borrower any

interest or carmings on such proceeds. Fees for public adjusters, pr other third parties, retained by
Borrower shall not be paid ont of the insurance proceeds and shall be the sole obligation of Borrower. If

the restoration or repair is not economically feasible or Lender's se

ty would be lessened, the insurance

proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due, with

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the excess, if'any, paid 19 Borrower. Such insurance proceeds shall be
Section 2,

If Borrower abandons the Property, Lender may file, negotiatd and. settle any available insurance
claim and related matters. If Bomower does not respond within 30 days to a notice from Lender that the
insurance cartier has offered to setile a claim, then Lender may negotiate and settle the claim. The 30-day
period will begin when the notice is given. In either event, or if ler acquizes the Property under
Section 22 or otherwise, Borrower hereby assigns to Lender (a) Borrower's rights to any insurance
proceeds i an amount not to exceed the amounts unpaid under the Note or this Security Instrument, and
(b) any other of Borrower's rights (other than the right to any reflnd of unearmed premiums paid by
Bottowex) under all insurance policies covering the Property, insofar| as such rights are applicable to the
coverage of the Property, Lender may use the insurance proceeds eithet to repair or restore the Property or
io pay‘ amounts unpaid under the Note or this Security Instrument, whether or not then due.

6. Occupancy. Boizower shall ocewpy, establish, and nse the Property as Berrower's principal
residence within 60 days. after the execution of this Security Zostramgat and shall continue to occupy the
Property as Borrower's principal residence for at least one year after the date of occupancy, unless Lender
otherwise agrees in writing, which consent shall not be ummeasonatily withheld, or unless extenuatmag
citcumstances exist which are beyond Borrower's control.

7, Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not
destroy, damage or impair the Property, allow the Property to déteriorate or commit waste on the
Property. Whether or not Borrower is residing in the Property, Borrower shall, maintain the Property in
order to prevent the Property from deteriorating or decreasing in value due to its condition. Unless it is
determined pursuant to Section 5 that repair or restoration is not economically feasible, Borrower shall

. ptompily repair the Property if damaged’ to avoid further deteriotation or damace. If insurance ot
condemmation proceeds are paid in connection with damage to, or the taking of, the Property, Borrower
Shall be responsible for repairing or restoring the Property only if Lender has released proceeds for such
purposes. Lender may disburse proceeds for the repairs and restoration|in a single payment or in a series of
progress payments as the: work is completed. If the insurance or condemnation proceeds are not sufficient
to repair or restore the Property, Borrower is not relieved of Bomower's obligation for the completion of
such jepair or restoration:

Lender or ifs agent may make reasonable entries upon and inspections of the Property. If it has
teasonable cause, Lender‘may inspect the inferior of the ‘mmpeton a on the Property. Lender shail give

applied in the order provided for in

Borrower notice at the tirhe of or prior to such an interior inspection specifying such reasonable canse.

8. Borrower's Logu Application. Borrower shall be in default if, during the Loan application
process, Borrower or amy persons or entities acting at the direction of Bomower or with Bomower’s |
knowledge ox consent gaye materially false, misleading, or inaccnrate information or statements to Lender
(or failed to provide Lender with material information) in cormection with the Loan, Material
representations include, but are not Hmited to, representations concemming Borrower's ocenpancy of the
Property as Borrower's principal Tesidence.

9, Protection of Lender's Interest in the Property and Rights
(a) Borrower fails to perform the covenants and agreements contained :
is a legel proceeding that might significantly affect Lender's interest

Onder this Security Instrument. If
in this Security Instrument; (b) there
in the Property and/or rights under

this Security Instrument (such as a proceeding in bankruptcy, probate
enforcement of a lien which may attain priority over this Security
regulations), or {c) Bordéwer has abandoned the Property, then Lend
Teasonable or appropnate to protect Lender's interest in the Prope
Instrument, including protecting and/or assessing the yalue of the Pro
the Property. Lender's actions can include, but are not limited to: (a¥
which has priority over this Security Instrument; (b) appearing iz

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fer condemmation or forfeiture, for
Insirument or to enforce laws or

ier may da and pay for whatever is

rty and tights under this Security

perty, aud securing and/or repairing

paying any sums secured by a Hen
court; and (c) paying reasonable

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attorneys’ fees to protect its interest in the Property and/or rights unde
iis secured position in a bankruptcy proceeding. Securing the Props
entering the Property to make repairs, change locks, replace or board
from pipes, eliminate building or other code violations or dangerous
on or off. Although Lend
under any duty or obligation to do so. It is agreed that Lender incurs
actions anthorized under this Section 9..

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r this Security Instrument, including
xty includes, but is not Limited to,
ap deors and windows, drain water
conditions, anc have utilities tumed

let may take actior under this Section 9, Lender does not have to do so and is not

lability for not taking any or all

Any amounts disbutsed by Lender under this Section 9 shall tecome additional debt of Borrower

secuted by this Security Instrument. These amounts shall bear intere!
disbursement and shall be payable, with such interest, upon notice f
payment. .

ft at the Note rate from the date of
rom Lender to Borrower requesting

_ If this Security Instrument is on a leasehold, Borrower shall cd
lease. If Borrower acquires fee title to the Property,
Lender agrees to the merger in waiting.

10. Mortgage Insurance. If Lender required Mortgage Insuranc
Borrower shall pay the premiums required to maintain the Mortgage I
the Mortgage Insurance coverage required by Lender ceases to be avai
previously provided such insurance and Borrower was required to
toward the premiums for Mortgage Insurance, Borrower shall pay
coverage substantially equivalent to the Mort
equivalent to the cost to Borrower of the
mortgage insurer selected by Lender. If substantially equivalent iv
available, Borrower shall: contimme to pay to Lender the amount of the!
were due when the insurance coverage ceased. to be in effect. Lend
payments as 4 non-reftridable loss reserve in lieu of Mortgage Ins
non-refundable, notwithstanding the fact that the Loan is ultimately p
required to pay Borrower any interest or earnings on such loss reserve
reserve payments if Morigage Insurance coverage (in the amount and
. provided by an insurer selected by Lender again becomés availeble
separately designated payments toward the premiums for Mortgage Ins!
Insurance as a condition of making the Loan and Borrowér was reqi
payments toward the premiums for Mortgage Insurance, Borrower

tmaintain Mortgage Insurance in effect, or to provide a nonrefund

requirement for Mortgage Insurance ends in accordance with any writt
- Lender providing for such termination or until termination is reqnired
Section 10 affects Borrower's obligation ta pay interest at the rate prov

Mortgage Insurance reimburses Lender (or any entity that pure!
may incur if Borrower dices not repay the Loan as agreed. Borroy
Insurance.

Mortgage insurers evaluate their total risk on all such insurance
enter into agreements with other parties that share or modify their risk
are on terms and conditions that are satisfactory to the mortgage insur
these agreements. These agreements may require the mortgage insurer,

imply with all the provisions of the

the leasehold and the fee tlile shall not merge unless

as a condition of making the Loan,
in effect. If, for any reason,
able from the mortgage insurer that
ke separately designated payments
the preminms required to obtain

gage Insurance previously in effect, at a cost substantially
Morigage Insurance previously in effect, from an alternate

Ottgape Insurance coverage is not
separately designated payments that
er will accept, use and retain these
mrance. Such loss reserve shall be
aid in full, and Lender shall not be
2. Lender can no longer require oss
for the period that Lender requires)
, is obtained, and Lender zequires
nrance. If Lender required Mortgage ©
hired to make separately designated
all pay the premiums required to
able loss reserve, mil Lender's
bn agreement between Borrower and
by Applicable Law. Nothing in this
ided inthe Note.

Rases the Note} for certain losses it

rex. is not a party to the Mortgage

in force from time to time, and may
, or reduce losses. These agreements
er and the other party (or parties) to
to make payments using any scurce

Insurance premiums).

of finds that the mortgage insurer may have available (which may T fonds obtained from Mortgage

As a result of these: agreements, Lender, any purchaser of the Note, another insurer, any reinsurer,

any other entity, or any affiliate of any of the foregoing, may receivel (directly or indirectly) amounts that
derive from (or might he characterized as) a portion of Borrower's payments for Morztgage Insurance, in
exchange for sharing or. modifying the mortgage insurer's risk, or fredncing losses. If such agreement
provides that an affiliate of Lender takes a share of the insurer's tisk in exchange for a share of the
preminms paid to the insurer, the arrangement is often termed "captivelreinsutance.” Further:

{a) Any such agreements will not affect the amounts that|Borrower has agreed to pay for
Mortgage Insurance, or any other terms of the Loan. Such agreements will not increase the amount
Borrower will owe for Mortgage Insurance, and they will not entitle Borrower to any refund.

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(b) Any such agreements will not affect the rights Borrower|has - if any - with respect to the
Mortgage Insurance under the Homeowners Protection Act of 1998 or any other law. These rights
may include the right éo receive certain disclosures, to request and obtain cancellation. of the
Mortgage Insurance, to have the Mortgage Insurance terminated automatically, and/or to receive a
refund of any Mortgagé Insurance premiums that were unearned at the time of such cancellation or
termination.

11. Assignment of Miscellaneous Proceeds; Forfeiture. All
assigned to and shall be paid to Lender. .

if the Property is damaged, such, Miscellaneous Proceeds shall
the Property, if the restoration or repair is economically feasible and Lender's security is not lessened.
During. such repatr and réstoration period, Lender shall have the right to hold such Miscellaneous Proceeds
until Lender bas had an opportunity to inspect such Property to ensure the work has been completed to
Lender's satisfaction, provided that such inspection shall be undertaken promptly. Lender may pay for the
repairs amd restoration in a single disbarsement or in a series of progress payments as the work is

Miscellaneous Proceeds are hereby

@ applied to restoration or repair of

completed, Unless an agreertent is made in wai
Miscellaneous Proceeds, Lender shall not be r
Miscellaneous Proceeds. If the restoration or repair is not economical
be lessened, the Miscellaneous Proceeds shall be applied to the sums
whether or not then due, with the excess, if any, paid to Borrower.
applied in the order provided for jn Section 2.

In the event of a total taking, destruction, or loss in value
Proceeds shall be applied to the sums secured b
the excess, if any, paid-‘to Borrower.

ting or Applicable Law requires Interest to be paid on such
equired to pay Borower any interest or earnings on such
ly feasible or Lender's security would.

ed by this Security Instrument,
ch Miscellaneous Proceeds shall be

bf the Property, the Miscellaneous
y this Security Instrument, whether or not then due, with

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market

value of the Property inimediately before the partial taking, d
gieater than the amount of the sums secured by this Security Ins

taking, destruction, or loss in value, unless Borrower and Lender o

sa

ttument immediately tefore the partial

ion, ox loss in value is equal to or

erwise agree in writing, the sums

secured by this Security Insirument shall be reduced by the amount of the Miscellaneous Proceeds

multiplied by the following fraction: (a) the total amount of the
partial taking, destruction, or loss in value divided by (b) the
immediately before the partial taking,
Tn the event ofa partial taking, destruction,
value of the Property immediately before the p

Borrower and Lender otlierwise agree in writing, the Miscellaneous
secured by this Security Instrument whether or not the sums are then

if the Property is abandoned by Borrower, or if, after mah

Opposing Party (as defiried in the next sentence) offers to make an 4
Borrower fails to respond to Lender within 30 days after the date the 3
ta collect and apply the ‘Miscellaneous Proceeds either to testoration!
sums secured by this Security Instrument, whether or not then due. "O
that owes Borrower Miscellaneous Proceeds or the party against who
regard to Miscellaneous Proceeds.

Boxrower shall be in default if any action or proceeding, whe
Lender's judgment, could result in forfeiture of the Property or 0
interest in the Property or rights under this Security Instrument. B
acceleration has occured, reinstate as provided in Section 19, by ca
dismissed with a ruling that, in Lender's judgment, preciudes forfeit:
impairment of Lender's interest in the Property or rights under this $
any award or claim for damages that are attributable to the impairmen
are hereby assigned and shall be paid to Lender.

AU Miscellaneous Proceeds that are not applied to restoration
applied in the order provided for in Section 2.

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secured immediately before the
ir market value of the Property

destruction, ot loss in value. Any balance shall be paid to Borrower.
, or loss in value of the Property in which the fair market
arial taking, destruction, or loss in value is less than the
amount of the sums secured immediately before the partial taking, de

struction, or loss im valne, unless
aceeds shall be applied to the sums

by Lender to Borrower that the
ward to settle a claim for damages,
hotice is given, Lender is authorized
or repair of the Property or to the

pposing Party" means the third party

Borrower has a right of action in

civil or criminal, is begun that, in
er material impairment of Lender's
wer can cure such a default and, if
ing the action or proceeding to be

ire of the Property or other material

ecurity Instrument. The proceeds of
. of Lender's interest in the Property

or repair of the Property shall be

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12. Borrower Not Released; Forbearance By Lender Not
payment or modification of amortization of the sums secured by this

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2 Waiver. Extension of the time for
security Instenment granted by Lender

te Borrower or any Successor in Interest of Borrower shall not operate to release the liability of Borrower
or any Successors in Interest of Borrower. Lender shall not be tequited io commence proceedings against

any Successor in Interest of Borrower or to refuse to extend tt
amortization of the sums Secured by this Security Instrument by reas
Borrower or aiy Successors in interest of Borrower. Any forbearanc
remedy including, without limitation, Lender's acceptance of payy
Successors in Interest of Borrower or in amounts less than the amour
precinde the exercise of any right or remedy.

43. Joint and Several Liability; Co-signers; Successors and
and agrees that Borrower's obligations and ability shall be joint andi

e for payment or otherwise modify
mn of any demand made by the original
© by Lender in exercising any right or
ments irom third persons, etitities or
t then due, shall not be a waiver of or

Assigns Bound. Borrower covenants
several. However, any Borrower who

co-signs this Security Instrument but does not execute the Note (a "co-signer"): (a) is co-signing this
Security Instrament only to mortgage, grant and convey the co-signter's interest in the Property under the
terms of this Security Instrument; (b} is nat personally obligated ty the sums secured by this Security
Instrument, and {(c) agrees that Lender and any other Borrower cam agree to extend, modify, forbear or
Imake any accormmodations with regard to the terms of this Security Instrument or the Note without the
co-signer's consent.

Subject to the provisions of Section 18, any Successor in!
Eorrower's obligationsmnder this Security Instrument in writing, and is approved by Lender, shall obtain
ali of Borrower's-rights and benefits under this Security Instrament, Borrower shall not be released from
Borrower's obligations -and lability under this Security Instrument unless-Lender agzees ta such release in
writing. The covenants and agreements of this Security Ins shall bind (except as provided in
Section 20) and’ benefitithe successors and assigns of Lender.

14, Loan Charges. Lender may charge Borrower fees for services performed in connection with
Borrower's defanit, for the purpose of protecting Lender's interest}in the Property and rights under this
Security Instrument, including, but not limited to, attorneys’ fees, property inspection and valuation fees.
In regard to any other fees, the absence of express authority in this Security Instrument to charge a specific
fee to Borrower shall not be construed as a prokibition on the charging of such fee. Lender may not charge
fees that are expressly prohibited by this Security Instrument or by Applicable Law.

If the Loan is subject te a law which sets maximum loan charges, aud that law is finally interpreted so
that the interest or other loan charges collected or to be collected in comnection with the Loan exceed the
permitied limits, then: (a) any such loan charge shail be reduced by the amount necessary to reduce the
chatge to the permitted! limit, and (b) any sams already collected from Borrower which exceeded perniitted
limits will be refunded to Borrower. Lender may choose to make/this refund by reducing the principal
owed under the Note wr by making a direct payment to Borrower. If a refund reduces principal, the
reduction will be treated as a partial prepayment without any prepayment charge Gvhether or not a
pispayment charge is provided for under the Note}. Borrower's acceptance of any such refund made by
direct payment to Borrower will constitute a waiver of any right of action Borrower might have arising out
of such overcharge.

15. Notices. Ali notices given by Borrower or Lender in connection with this Security Instrument
must be in writing. Any notice to Borrower in connection with this Security Instrument shall be deemed to
have been given to Borrower when mailed by first class mail or when actually delivered to Borrower's
notice address if sent by other means. Notice to any one Borrower constitute notice to ali Borrowers
umless Applicable Law expressly requires otherwise. The notice address shall be the Property Address
unless Borrower has designated a substitute notice address by notice to Lender. Borrower shall promptly
notify Lender of Borrower's change of address. If Lender specifies a procedure for reporting Borrower's

Interest of Borrower who assumes

change of address, then Borrower shalt only report a change of a
There may be only ote designated notice address under this Se
notice to Lender shall-be given by delivering it or by mailing it
stated. herem unless Lender has designated another address by

ess through that specified procedure.

oueity Instrument at any one time. Any
yy fixst class mail to Lender's address

notice to Borrower. Any notice in

connection, with this Security Instrument shall not be deemed to have been given to Lender watil actually
received by Lender. If any notice required: by this Security Instrument is also required under Applicable
Law, the Applicable Law requirement will satisfy the comesponding requirement under this Security
Instrument,

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16. Governing Law; Severability; Rules of Constraction.
governed dy federal lay and the law of the jurisdiction in which
obligations contained in this Security Instrument are subject to
Applicable Law. Applicable Law might explicily or implicitly alloy
might be silent, but such silence shall not be construed as a probibi
thé event that any proyision or clause of this Security Instrument
Law, such conflict shall not affect other provisions of this Security
given effect without the conflicting provision.

_ As used in this Security Instrument: (a) words of the ine gender shall mean and include
corresponding neuter words or words of the feminine gender; (b) words in the singular shall mean and
include the plural and vice versa; and (c) the word “may” gives sole discretion without any obligation to
take any action.

17. Borrower's Copy. Borrower shall be given one copy of the Note and of this Security Instrument.

18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18,
"Interest in the Property" means any legal ox beneficial interest in the Property, including, but not limited
to, those beneficial interests transferred in a bond for deed, contract) for deed, insiallment sales contract or
escrow agreement, the intent of which is the transfer of title by Borrower at a fnture date io a purchaser.

Tf all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower
is not a natoral person.and a beneficial interest in Borrower is sold|or transferred) without Lender's prior
written consent, Lendér may requite immediate payment in full of all sums secured. by this Security
Instroment. However, this option shall mot be exercised by Lender if mich exercise is prohibited by

This Security Instrrment shall be
he Property is located. All rights and
any requirements and limitations of
the parties to agree by contract or it
tion against agreement by contract. In
or the Note conflicts with Applicable
Instrument or the Note which can be

Applicable Law.

if Lender exercises this option, Lender shall give Borrower
provide « period of not less then 30 days from the date the notice is
within, which Borrower mmst pay all sums secured by this Secuzi
these sums prior to tlie expiration of this period, Lender may
Security Instrument without farther notice or demand on Borrower.

oH

| tice of acceleration. The notice shall
given in accordance with Section 15
instrument. If Borrower fails ia pay
woke any remedies permitted by this

19. Borrower's ‘Right to Reinstate After Acceleration. If Borrower meets certain conditions,
Borrower shall haye the right to have enforcement of this Security Instrument discontinned et any time
prior to the earliest of: (a) five days before sale of the Property pursuant to any power of sale contained in

this Security Instrument; (b) such other period as Applicable fay

Borrower's right to reinstate: or (c) entry of a judgment enfo

conditions are that Borrower: (a) pays Lender all sums which th
Instroment and the Noie as if no acceleration had occurred; (b) cure!

agreements; (c) pays all expenses incurred in enforcing this Security
to, reasonable atiorneys' fees, property inspection and yatuation
purpose of protecting Lender's interest in the Property and rights ¥
takes such action as Lender may reasonably require to assure that!
rights under this Security Instrument, and Borrower's obligation to
Instrument, shall continue unchanged. Lender may require that Bor,

might specify for the texmination of
cing this Security Instrument. Those
len would be due under this Security
s any default of any other covenants or
Tnstrament, including, but not limited
fees, and other fees incurred for the
inder this Security Instrument; and (d)
Lender's interest in the Property and
pay the sums secured by this Security
rower pay such reinstatement sums and

expenses in one or more of the following forms, as selected by Wender: (a) cash; (b) money order; {¢)

certified check, hank check, treastrer’s check or cashier’s check, p
an institution whose deposits are insured by a federal agency, ins
Funds Transfer. Upon! reinstatement by Borrower, this Security Ins}
shall remain faliy effective as if no acceleration had occurred. Ho
apply in the case of acéeleration under Section 18.
20. Sale of Note; Change of Loan Servicer; Notice of Grie
the Note (together with this Security Instrument) can be sold one
Borrower. A. sale might result im a chance in the entity dcuownl
Periodic Payments due under the Note and this Security Instrum

servicing obligations under the Note, this Security Instrument, and

one or more changes of the Loan Servicer umelated to a sale of the

Servicer, Borrower will be given written notice of the change which

new Loan Servicer, the address to which payments should be

Page 11 of 15

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vided any such check is drawn upon

ity or entity; or (d) Electronic
iment and obligations secured hereby
wever, this right to reinstate shall not

ance. The Note or a partial interest in
ox Itore times without prior notice to
as the "Loan Servicer"} that collects
ent and performs other mortgage loan
Applicable Law. There also might be
Note. If there is a change of the Loan
will state the name and address of the
made and any other information RESPA

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Teguizes In connection’ with a notice of transfer of servicing. Lf the }
serviced by a Loan Servicer other than the purchaser of the Note, tf
to Borrower will remain with the Loan Servicer or be transferred to
assumed by the Note purchaser nuless otherwise provided by the Not

Neither Borrower nor Lender may commence, join, or be join
individual Htigant or the member of a class) that arises from the
Security Instrument or that alleges that.the other party has breached
teason of, this Security, Instrument, until such Borrower or Lender

notice given in compliance with the requirements of Section 15) of
other party hereto a reasonable period after the giving of such]

Applicable Law provides a time period which mmst elapse before

period will be deemed! io be reasonable for purposes of this paray
opportunity to cure given to Borrower pursuant to Section 22 an
Borrower pursuant to Section 18 shall he deemed to satisfy the not

action provisions of this Section 20.

21. Hazardous Substances. As used in this Section 21: (

substances defined as toxic or hazardous subsiarces, pollutants, ox
following substances: gasoline, kerosene, other flammable or toxi
and herbicides, volatile solvents, materials containing asbestos or fo

Note is sold and thereafter the Loan is
lé mortgage loan servicing obligations
a successor Loan Servicer and are not
purchaser.

ed to any judicial action (as etther an
other party's actions pursuant to this
any provision of, or any duty owed by
has notified the other party (with such
such alleged breach and afforded the
notice to fake corrective action. If
certain action can be taken, that time
braph. The notice of acceleration and
i the notice of acceleration piven, to
‘ice and opportunity to take cortective

wv

a) "Hazardous Substances" are those
wastes by Environmental Law and the
+ petroleum products, toxic pesticides
dehyde, and radioactive materials;

(b) “Enyironmental Law" means féderal laws and Jaws of the jurisdittion where the Property is located that
relate to health, safety. or environmental protection; (c) "Environmental Cleanup” includes any response
action, remedial action, or removal action, as defined in Environmental Law; and (d) an “Environmental
Condition” means a condition that can cause, contribute to, oz otherwise tigger an Environmental

Cleanup.

Borrower shall not cause or permit the presence, use, disposal
Substances, or threaten to release any Hazardous Substances, on or j
ror allow anyone else to do, anything affecting the Property (a) th
Law, (b) which creates an Environmental Condition, or (c) which,

, Storage, or release of any Hazardous
in the Property. Borrower shall not do,
at is in violation of any Environmental
ue to the presence, use, or release of a

Hazardous Substance, creates a condition that adversely affects the value of the Property. The preceding
two sentences shall not apply to the presence; use, or storage the Property of small quantities of
Hazardous Substances: that .are generally recognized to be a jate to normal residential uses and to
maintenance of the Property (including, but not limited fo, hazardous substances in consumer products).
Borrower shail promptly give Lender written notice of fa} any investigation, claim, demand, lawsuit
or other action by any governmental or regulatory agency or private party involving the Property and any

Hazardous Substance or Environmental Law of which Borro
Environmental Condition, including but not limited to, any spilling |
release of any Hazardous Substance, and (c} any condition causes
Hazardous Substance which adversely affects the value of the Prog
by any governmental or tegulatory authority, or any private party,

wer has actual knowledge, (b) any
leaking, discharge, release or threat of
i by the presence, use or release of a
erty. If Borrower learns, or is notified
that any removal or other remediation

of any Hazardous Substance affecting the Property is necessary, Bosrower shall promptly take all necessary
Temedial actions in accordance with Envizonmental Law. Nothing herein shall create any obligation on
Lender for an Environmental Cleanup.

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NON-UNIFORM COVENANTS. Borrower and Lender furthey covenant and agree as follows:

22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration following
Borrower's breach of any covenant or agreément in this Security Instrument (but not prior fo
acceleration under Section 18 unless Applicable Law provides oth erwise). The notice shall specify: (a)
the defauit; (b) the action required to cure the default; (c) a date} not Jess than 30 days from the date
the notice is given to Borrower, by which the default must be cured; and (d) that failure to cure the
default on or before the date specified fu the notice may result in acceleration of the sums secured by
this Security ‘Tnstrumient and foreclosure or sale of the re nah The notice. shall further inform
Borrower of the wight to reinstate after acceleration and the right to assert in court the non-existence
of a default or any other defense of Borrower to acceleration ie foreclosure or sale. If the default is
not cured on or before the date specified in the notice, Lender at its option may require immediate
payment in full of all stns secured by this Security Instrument without further demand and may
invoke any of the remedies permitted by Applicable Law. Lender shall be entitled to collect all
expenses incurred in pursuing the remedies provided in this Section 22, including, but not limited to,
reasonable attorneys’ :fees and costs of title evidence.

23. Release. Upon payment and discharge of all sums secured by this Security Instrument, this
Security Insirament shail become mull and void and Lender shall release this Security Instrament.
Borrower shall pay any recordation costs. Lender may charge Borrower a fee for releasing this Security
Tnstrument,. but only if the fee is paid to a third party for services tendered and the charging of the fee is
pennitied under Applicable Law.

24, Waivers. Borrower waives all rights ef homestead exemption in, and statutory redemption of,
the Property and all right of appraisement of the Property and relinquishes all rights of curtesy and dower
in the Property.

25. Future Advances. Lender is specifically permitted, at ii option and in its discretion, to make
additional loans and future advances under this Security Instromeni as contemplated by Section 49-2(c) of
the Connecticut General Staintes, and shall have afl tights, powers and protections allowed thereunder.

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Case: 1:05-cv-07097 Document #: 1823-7 Filed: 12/26/07 Page 17 of 25 PagelD #:22472
BY: SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained
in this Security Instrument.and In any Rider executed by Borrower and recorded with it.
Signed, sealed and delivered in the presence of:
Df) SAL
Ceti eal aoe! gate nn (Seal)
oq “TIE 1 SAVERY Constance Stripling —~  -”
fo

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STATE OF CONNECTICUT, UenjiLmdm County ss: Town of Lbuladm

The foregoing instrument was acknowledged before me this “| = =1¢°3 by

Qnstea neo Stun 4

‘My Commission Expires: Si rt

Nama Pate CaP aa CAAR narwe” 7 Benen 4
CaOminsss) D2 of “he Supelioe bs

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ADJUSTABLE RATE RIDER
{LIBOR Six-Month-Index (As Published in the Wali Street Journal)- Rate Caps}

|
THIS ADJUSTABLE RATE RIDER is made this 23rd day of May , 2003 and is incorporated
into and shall be dedmed to amend and supplement thé Mo igage, Deed of Trust or Security
Deed (the "Security Instrument") of the same date given by the undersigned. {the "Borrower to
secure Borrowers Adjustable Rate Note (the "Note") fo Am ariquest Moitgage Company (the “3
ender) of the same date and covering the property described in the Security Instrument and ‘
located at: '

t

100 Oswegatchie Road, WATERFORD, CT 06385 v
[Property Address] .

THE NOTE CONTAINS PROVISIONS ALLOWING FOR CHANGES IN THE
INTEREST RATE AND THE MONTHLY PAYMENT. THE|NOTE LIMITS THE |
AMOUNT THE BORROWER'S INTEREST RATE CAN.GHANGE AT ANY ONE
TIME AND THE MAXIMUM RATE THE BORROWER "L. PAY.

ADDITIONAL COVENANTS. in addition to the covenants and agreements made in the
Security Instrument, Borrower and Lender further covenant and agree as follows:

A. INTEREST RATE AND MONTHLY PAYMENT CHANGES .
The Note provides for an initial Interest rate of 6.550 %. The Noté provides for changes in the
interest rate and the monthly payments, as follows:

4. INTEREST RATE AND MONTHLY PAYMENT CHANGES .
(A} Change Dates z
The interest rate | will pay may change on the first day of June, 2005 , and on that day every :

sixth month thereafter. Each date on which my interest rate could change is called a "Change
iy e,"

(B) The index ~
Beginning with the first Change Date, my interest rate will be based on an Index. The "Index" is
the average of interbank offered rates for six-month U.S. delfar-cenominated daposits in the “
London market ("LIBOR"), as published in the Wall Street Journal. The most recent Index figure 1
availabie as of the date 45 days before each Change Date is called the "Current Index." ™

if the index is no longer available, the Note Holder will chdose 2 new index which is based
upon comparable information. The Note Holder will give me notice of this choice.

Initiats_{ ins, _ 4

Loan Number: 0047599451 - 6678.

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{C} Calculation of Changes

Before each Change Date, the Note Holder will calculate
five percentage points ( 5.000 %) to the Current Index. The
result of this addition fo the nearest one-eighth of one persenta
limits stated in Section 4(D} below, this rounded amount will He my new interest rate unt the
next Change Date. :

The Note Holdef will then determine the amount of the

my new interest rate by adding
Note Holder will then round the
& paint (0.125%). Subject to the

onthly payment that would be

sufficient to repay the unpaid principal that | am expected to awe at ihe Change Date in full on

fhe maturity date at my new interest rate in substantially equ

calculation will be the new amount of my monthly payment.
(D} Limits on Interest Rate Changes

The interest rate | am fequired to pay at the first Change Date wi

less than 6.550%, Thereafter, my interest rate will never be

single Change Date by more than One( 1.000 %) from the rate ¢
the preceding six mdnths. My interest rate will never bé gred

6.550%,

{E} Effective Date of Changes.

| payments. The result of this

not be greaterthan 8.550% or
Increased or decreased on any
af interest | have been paying for
ter than 12.550)% or less than

My new interest rate will become effective on each Change Date. | will pay the arnount of my

new monthly paymient beginning on the first monthly payment
the amount of my monthly payment changes again.

{F)} Notice of Changes

The Note Holder will deliver or mall to me a notice of any cha

date after the Change Date untit

ages in my interest rate and the

amount of my monthly payment before the effective date of any change. The notice will include

information required by law to be given me and also the title a
who will answer any question | may have regarding the notice.

B. TRANSFER OF THE PROPERTY OR A BENEFICIAL INTEREST IN BORROWER
Section 18 of the Securify Instrument is amended to read as fi

Transfer of the Property or a Beneficial interest in B

18, "Interest in the Property” means any legal.or beneficial
but not limited to, those beneficial interests transferred in a
installment sales contract or escrow agreement, the intent
Borrower at a-future date to a purchaser.

Loan Number: n047590451 - 5678

610-2 Rev 101} Pags 2 of 3

telephone number of a person

lows:
orrawer, As used in this Section
interest in the Property, including,

bond for deed, contract for deed,
bf which Is the transfer of title by

initatsC COVA

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if all or any part of the Property or any Interest in the Property is sold or transferred (or if
Borrower is not a natural person and a beneficial interest in Borrower is sold or transferred)
without Lender's prior written consent, Lender may require immediate payment in full of all sums
secured by this Security Instrument. However, this option shall not be exercised by Lender if
such exercise is prohibited by federal law. Lender also shalij not exercise this option if} (a)
Borrower causes to be submitted to Lender information required by Lender to evaluate the
intended transferee as if a new loan were being made to the transferee; and (b) Lender
reasonably determines that Lender's security will not be impaijed by the loan assumption and
that the risk of a-breach of any covenant or agreement in this Security Instrument is acceptable
o Lender.

To the extent permitted by Applicable Law, Lender may [charge a reasonable fee as a
condition ta Lender's consent to the loan assumption. Lender may also require the transferee to
sign an assumption agreement that Is acceptable to Lender and that obligates the transferee to
Keep ail the promises and agreements made in the Note and in this Security instrument.
Borrower will continueito-be obligated under the Note and this Sécurity Instrument unless Lender
releases Borrower in writing. if Lender exercises the option to require immediate payment in full,
Lender shall give Borrower notice of acceleration. The riotice shall provide a period of not lass
than 20 days from the date tha notice is given.in accordance with Section 15 within which
Borrower ‘must pay all sums secured by this Security Instrument. If Borrower faiis to pay these
sums prior to the expiration of this pefod, Lender may invoke; any remedies permitted by this
Securly Instrument without further notice or demand on Borrower.

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in

this Adjustable Rate Rider.
Ae Hg (Seal). (Seal)
£Borrower Corstanés Stfipling ~ Borrower
(Seal) (Seal) ‘

Sarrawer Borrower

Lean Number. 0047599451 - 5678

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File No:3307

BXWIBIT A - LEGAL DESCRIF

TION

That . certain tract of Land, with the bufidings thereen stinding, aifvated on
the eant side af the highway leading from Strait'a Bridge to Oawegatchia in the
Ton of Wacerford, County of New Londen and Scate of Connecticut, mora particularly

hounded add deseribed aa follows:

t

* comands at the souchvesé corneas ef tha within denerifed erack at its
interséction with seid highway and land nev ar fatierly lof Luther Daniels and

Anta Grace Dondels; thenea running easterly by and along

said Danjals hand One

Hundtad £100} tact, more or lesa, te Lond now or formerly of Laster J. Hartin

and Lyda BE. Martans thence rumiag northerly by and along said Hortin land Forty-

Five (45) feat to land now ov Formorly of Amelia C. Vingosy thance running west
ecly By atid along said Yingas One Handred feck, more orjleas, to sald highway:
thence runing southerly by and along asatd highway Torty-{lve (45) feet to Land

doy ox iotwerly of Daniela and ca the paling pf beginnin

Together with a right of way with others aver a st rip of Iond extending fron
aaid Oswagutehie Rod fo the Wlantie River, now or formerly owned by Erma F.

?

Darling.

Ticor Title Insurance Company

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TRUTH-IN-LENDING DISCLOSURE STATEMENT
{THIS IS NEITHER A CONTRACT NOR A COMMITMENT TO LEND)

[~~] Preliminary Final

LENDER:Ameriquest Morigage Company
125 Eugene O'Neill Dr #300
New Londen, CT 06320
{880)439-0320

t

Broker License:
Borrowers:Constance Stripling
Type of Lean: ADJUSTABLE RATE

Date: May 23, 2003
Address: {00 Oswagatchie Road

City/State/Zip: WATERFORD,CT 06385 Loan Number: 0047599451 - 5878

Property: 100 Oswegatchie Road, WATERFORD, CT 06385

ANNUAL FINANCE CHARGE ..
PERCENTAGE RATE Amount Financed Total of Payments
Tha cost of your credit as & yearly 7 The dofar amount the credit wil | ‘The amount of credit provided to | The amount you wil have pafé afer
you have mede all payments as
rata. cost you, you cr on your behalf, scheduled, .
7.016 wm $ {61,766.21 $ 415, 563,69 § 477,329.90 -
YOUR PAYMENT SCHEDULE WILL BE:
NUMBER OF AMOUNT OF PAYMENTS ARE BUE NUMBER OF AMOUNT OF PAYMENTS ARE BYE,
PAYMENTS PAYMENTS BEGINNING PAYMENTS PAYMENTS BEGINNING
369 $770.38 07/01/2608 .
1 $763.48 08/01/2033
.
aa
&
VARIABLE RATE FEATURE: :
our loa $4 variable rate fe

SECURITY: You ara giving a security interest in the property located at 100 Oswagatchis Road, WATERFORD, CT 06385

| X__| cannot assume the remaining balance dua under original terms,

C4] may assume, subject te lender's conditicns, the remaining balanes due under original
terms,

ASSUMPTION: Someone buying this property

PROPERTY INSURANCE: You may obtain property insurance from anyene you want thats acceptable to

Ameriouest Mortgage Company

LATE CHARGES: if apayment's laty, you wil ba charged 8080% of the overdue payment .

PREPAYMENT: Ifyou pay off your loan early, you a
may Cc] wi not have fo pay a penalty. a

See your contract documents for any adélitlonal information regarding non-payment, default, raquired rapayment in full bafara the scheduled
data, and prapaymont refunds and penatties.

lWe hereby acknowledge reading and recelving & complete copy af this disclosure.

EE. Shales :
Tower ConstancS Stripling Date Sorrower Date
Borrower Data Borrower Dais
Original -
BEA Rae. 75) 08/22/2003 12:18:18 PM
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| E LE { ce i ieageeaniine: eee eur : o 5/29/08
THIS BINDER IS A TEMPORARY INSURANCE: CONTRACT, SUBJECT TO THE CONDITIONSSHOWN ON THE REVERSE

ISSUE DATE (MOM D/YS}

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WATERFORD, CT 06385
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GUARANTEED REPLACEMENT ON DWELLING

SAVERS LOUORSION sc CUs rec ue OUGHT PO OURS aemetan oe bee Rg SO ESSER Ta Sa

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AMERIQUEST MTG. CO. fa] [LOSS RAYEE
sq LOANS
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P.O. BOX 11056 ye AUTRORIGED REPRESENTATIVE
ORANGE, CA 92886 a
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Sabrina Earp-> DORTHY

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- CONDITIONS

‘fhis Company binds tho kind(s) of insurance stipulsted on the attached fornt. ‘The insurance Is
subject to the terme, conditions and liniintions of the policyGes) In current usa by the Company.

This binder may he cancelled by the insured by surrander of this binder or by written notice to

the Company stating whon cancellation will be effective. This binder moy bo eanecticd by the
Company by notice to the Insured in accordance with the policy conditions, This binder is cancelled
when replaeed by a polley. If this hiner is not replared hy 9 poilny, the Company is entitled

fo charge 3 premiuun for the binder according ta the Rules and Rates in use by the Company.

APPLICABLE IN NEVADA

Any parsor who refuses to gecept a binder which provides coverage of less then
$1,000,000,00 when proof is required: (A) Shall be Mined wet more fhan $500.00 and (8)
is Hable to the party presenting the bier as proof of insurance for actual damages
sustained therefror,

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